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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:13CR42
       vs.                                 )
                                           )                      ORDER
VIRGILIO ROMAN-CHAIDEZ,                    )
                                           )
                                           )
                     Defendant.


      This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME
TO FILE PRETRIAL MOTIONS [37]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 60-day extension. Pretrial
Motions shall be filed by July 19, 2013.

       IT IS ORDERED:

     1.    Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [37] is granted. Pretrial motions shall be filed on or before July 19, 2013.

       2.     The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
              regarding speedy trial as soon as practicable.

       3.       The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 20, 2013 and July 19,
2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 21st day of May, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
